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                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,
                    a Delaware corporation,                       APPLE’S RENEWED OFFER OF
           21                          Plaintiffs,                PROOF REGARDING APPLE’S
           22                                                     READILY ASCERTAINABLE
                          v.                                      DEFENSE
           23       APPLE INC.,
           24       a California corporation,
                                                                  Trial: Nov. 5, 2024
           25                          Defendant.

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                     APPLE’S RENEWED OFFER OF PROOF REGARDING APPLE’S READILY ASCERTAINABLE DEFENSE
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             1            Apple respectfully resubmits this offer of proof to continue to preserve for appeal
             2      Apple’s affirmative defense that Plaintiffs’ alleged trade secrets were readily
             3      ascertainable by proper means and thus not protectable. See Dkt. 1625 (original offer of
             4      proof on readily ascertainable defense). Apple makes this submission solely to preserve
             5      its position for appeal and does not request any action by the Court at this time.
             6            Before the first trial in this matter, the Court granted Plaintiffs’ Daubert motion
             7      to exclude portions of the planned testimony of Apple’s experts, holding that the readily
             8      ascertainable affirmative defense requires proof that Apple in fact ascertained the
             9      alleged secret information through the proper means. See Dkt. 1284 at 3-5. Apple
           10       respectfully maintains that this is not the correct legal standard for the reasons set forth
           11       in its brief in opposition to Plaintiffs’ Daubert motion. See Dkt. 1225 at 3-9. This is
           12       because California law only requires Apple to show that Apple could have readily
           13       ascertained Plaintiffs’ purported trade secrets through relatively little time and effort.
           14       Id.
           15             Apple expects that if its expert witnesses, Majid Sarrafzadeh and Steve Warren,
           16       had been permitted to opine on whether Plaintiffs’ alleged trade secrets were readily
           17       ascertainable, they would have testified in a manner consistent with the readily
           18       ascertainable opinions expressed in their expert reports: Report of Majid Sarrafzadeh,
           19       Dkt. 1174-1 (“Sarrafzadeh Rpt.”); Dkt. 1176-1 Ex. 11 (“Sarrafzadeh Rebuttal Rpt.”);
           20       Steve Warren, Dkt. 1174-3 (“Warren Rpt.”); and Dkt. 1176-1 Ex. 12 (“Warren Rebuttal
           21       Rpt.”). Specifically, Apple expects that for each of Plaintiffs’ alleged trade secrets at
           22       issue in the retrial, its experts would have provided admissible testimony consistent with
           23       the following portions of their expert reports:
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             1          Alleged Trade
                                                         Proof of Ready Ascertainability
             2              Secret
             3       D1                    Sarrafzadeh Rpt. ¶ 93, Sarrafzadeh Rebuttal Rpt. ¶¶ 88-94

             4       D3                    Sarrafzadeh Rpt. ¶ 121, Sarrafzadeh Rebuttal Rpt. ¶¶ 213-221

             5       D10                   Sarrafzadeh Rpt. ¶ 208
             6       L4                    Warren Rpt. ¶ 220, Warren Rebuttal Rpt. ¶¶ 73-84
             7       L5                    Warren Rpt. ¶¶ 231-238
             8
             9      Dated: November 12, 2024             Respectfully submitted,
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           14                                            SARAH R. FRAZIER
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             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 324 words, which:
             4             X complies with the word limit of L.R. 11-6.1
             5                complies with the word limit set by court order dated [date].
             6
             7      Dated: November 12, 2024              Respectfully submitted,

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